                   UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF WEST VIRGINIA
                           AT CHARLESTON

CHASE CARMEN HUNTER,

           Plaintiff,

v.                                   Civil Action No. 2:15-cv-05508

MICHAEL D. RILEY, individually, in
his official capacity as
Commissioner of Insurance for West
Virginia, and in his official
capacity as a Committee Member of
the National Association of
Insurance Commissioners,

           Defendant.

                   MEMORANDUM OPINION AND ORDER

           This action was previously referred to Dwane L.

Tinsley, United States Magistrate Judge, who has submitted his

Proposed Findings and Recommendation pursuant to the provisions

of 28 U.S.C. § 636(b)(1)(B).


           The court has reviewed the Proposed Findings and

Recommendation entered by the magistrate judge on January 12,

2018.   The magistrate judge recommends that the court grant the

defendant’s renewed motion to dismiss and dismiss this action

from the docket of the court.   The plaintiff, proceeding pro se,

has not objected to the Proposed Findings and Recommendation.


           Accordingly, it is ORDERED that the Proposed Findings

and Recommendation be, and hereby is, adopted by the court.    The
02/08/2016    Last day for Rule 26(f) meeting.
02/15/2016    Last day to file Report of Parties= Planning
              Meeting. See L.R. Civ. P. 16.1.

02/22/2016    Scheduling
     court grants         conferencerenewed
                   the defendant’s    at 4:30 p.m. at
                                            motion to the Robert
                                                      dismiss,   C. the
                                                               and
              Byrd United States Courthouse in Charleston, before
              the action
     plaintiff’s   undersigned, unless canceled. Lead counsel
                         is dismissed.
              directed to appear.
02/29/2016    Entry of scheduling
               The Clerk          order.
                         is directed to forward copies of this
03/08/2016    Last day to serve F.R. Civ. P 26(a)(1) disclosures.
     memorandum opinion and order to the pro se plaintiff, all

          The of
     counsel   Clerk is requested
                 record,          to transmit
                         and the United Statesthis Order and
                                               Magistrate Judge.
Notice to all counsel of record and to any unrepresented
parties.                            ENTER: February 28, 2018
                                    DATED:   January 5, 2016


                                    John T. Copenhaver, Jr.
                                    United States District Judge




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